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UNITED STATES DISTRICT COURT

for the
Southern District of California

 

     

 

United States of America )
V' )
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Dejéndam v § § gmc \§';
PRETRIAL RELEASE ORDE '_'_m""""""'""`”_
lT IS OR.DERED that the defendant’s release is subject to these conditions: MAY 0 4 2018
Mandato Conditions

 

 

 

 

Ctsai< os_oisi'iaicj' COuFiT
(l) The defendant must not violate federal, state, or local law during the p QSHBTE@|%@W.H'CT O*“ milch

 

(2) The defendant must cooperate in the collection of a DNA sample as au orlz'ed'by‘¢ . . .

Standard Conditions
(Each Standard Condition applies, unless stricken.)

 

(3) The defendant must appear in court as ordered and surrender as directed to serve any sentence.

(4) The defendant must not possess a tirearm, destructive device, or other dangerous weapon. The defendant
must legally transfer all firearms, as directed by Pretrial Services.

(5) The defendant must not use or possess a narcotic drug or other controlled substance without a lawful medical
prescription rI`he defendant must not use or possess marijuana under any circumstances

(6) The defendant must report to the U.S. Pretrial Services Office (telephone (619) 557-5738) on the day of the
initial court appearance or within 24 hours of the defendant’s release from custody, whichever is later.
Throughout this case, the defendant must report as directed by the Pretrial Services Oftice and follow all
directions of the Pretrial Services Office.

(7) The defendant must advise the Court or the Pretrial Services Office in writing of: (l) the defendant’s current
residence address and phone number, when first reporting to Pretrial Services; and (2) any new contact
information, before making any change of residence or phone number.

(8) The defendant must read this Pretrial Release Order and the “Advice of Penalties and Sanctions” form, cr
have them read to the defendant in the defendant’s native language The defendant must acknowledge the
defendant’s understanding of all the pretrial release conditions and the penalties and sanctions for any
violations, by signing the “Advice of Penalties and Sanctions” form.

(9) Restrict travel to: l:l San Diego County I:l Imperial County l?_.<l State of California

]:I CDCA (L.A., Orange, Riverside, San Bernardino, S.L.O., Santa Barbara, Ventura)
l:] Do not enter Mexico I:I Other Travel Restriction:

 

 

_ Additional Conditions
(10) l:i (a) The defendant is released on personal recognizance.
(b) The defendant must execute an appearance bond in the amount of $ {O! ll Q Q that is:
[:l Unsecured.

[Zl Secured, as set forth below. The Court finds that an unsecured bond will not reasonably assure the
defendant’s appearance as required and/or will endanger the safety of another person or the community.
Security: |:l The co-signatures of_'__ financially responsible (and related) adults or
l:l A cash deposit with the Court of $ .
l:l A trust deed to the United States on real property approved by a federal judge.
121 A cash bond and/or a bail bond by an approved, solvent corporate surety. A corporate bail
bond must cover all conditions of release, notjust appearances
l:] Other:
Hearing: Surety examination Nebbia hearing (bail source hearing)
(11) I:I 18 U.S.C. § 3142(d) hold until ; if no detainer is lodged by then, these conditions take effect.

 

 

 
    

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j (12) The defendant must:
|:| (a) actively seek or continue full-time employment, or schooling, or a combination of both.

 

|:] (b) reside with (l:|) a family member, surety, or , or
([:|) at a residence approved by the Pretrial Services Office, including any contract
facility.

ij (c) surrender any valid passport to the Pretrial Services Office and not obtain a passport or other
international travel document

[] (d) clear all warrants/FTAS and pay all fines within 90 days of release or as directed by the Pretrial
Services Office.

l:| (e) submit to psychological/psychiatric treatment at Pretrial Services’ discretion.

[:| (l) submit to drug/alcohol testing no more than ___ times per month and/or outpatient substance abuse
therapy and counseling, as directed by the Pretrial Services Offlce. Testing may include urine
testing, the Wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. Pretrial Services need not notify the Court of test results attributed to
residual elimination.

[:| (g) not usc alcohol at all.

|:| (h) not have a blood alcohol content (BAC) of .08% or more.

I:l (i) participate in and complete a program of inpatient substance abuse therapy and counseling, as
directed by the Pretrial Services Office.

|:] (j) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the
investigation or prosecution, including:

|:| (k) participate in the Location Monitoring Program and comply with its requirements as directed under
the following component and technology:

|:| (i) Curfew. You are restricted to your residence (|:|) every day from to
or (|:|) as directed by the pretrial services office or supervising ofticer.

l:| (ii) Home Detention. You are restricted to your residence at all times except for Pretrial
Services-approved absences for: employment; education; religious services; medical, _
substance abuse, or mental health treatment; attorney visits; court appearances; Court-
ordered obligations; or other activities

|:[ (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence
except for Court-approved absences for medical necessities, court appearances or other
activities

Technology: l:| Global Positioning System (GPS) l:l Radio Frequency |:] Voice Recognition

I:l You must pay all or part of the cost of the program based on your ability to pay as determined

by the pretrial services officer.

[] Defense counsel must notify Pretriai Services upon submission of bond paperwork; defendant to

be released from custody to Pretrial Services the following business day by 10:00 a.m. and
Pretrial Services to transport if needed.

l:] (l) return to custody each at AM/PM after being released at AM/PM
for employment, schooling, or the following purposes:

[] (rn) maintain residence at a halfway house, community corrections center, or residential facility, as the
Pretrial Services Office or supervising officer considers necessary.

|] (n) remain in the custody of , who will supervise the defendant and
notify the Court immediately if the defendant violates any conditions of release.

|:} (o) Adarn Walsh Act: See attached Addendum for additional conditions

|:| (p) Other conditions:

 

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(]3) I___I All conditions previously set will remain the same.

Date: 5"/2['20[5: A'/l/L= A’b.nj/`

Hon. l{uben B. Brooks
U.S. l\/lagistrate Judge

